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                       Exhibit 1
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                                                                                              #2005-14
                                                                           also Terminates #2005-13
                               UNITED STATES OF AMERICA
                             DEPARTMENT OF THE TREASURY
                     OFFICE OF THE COMPTROLLER OF THE CURRENCY




  In the Matter of:

  The Federal Branch of Arab Bank PLC,                                 AA-EC-05-12
  New York, New York



                                           CONSENT ORDER

            The    Acting   Comptroller   of   the   Currency   of   the    United   States   of   America

  ("Comptroller"), through her national bank examiners and other staff of the Office of the

  Comptroller of the Currency ("OCC"), is conducting an examination and investigation of the

  New York branch of Arab Bank PLC (the "New York Branch" or "Branch"), a Federal branch of

  Arab Bank PLC, Amman, Jordan ("Arab Bank"), and has identified deficiencies in the Branch's

  internal controls, particularly in the area of Bank Secrecy Act and Anti-Money Laundering

  compliance.       The findings of the examination and investigation have been made known to the

  Branch.

            The New York Branch, by and through its General Manager ("GM") duly authorized by

  Arab Bank, has executed a "Stipulation and Consent to the Issuance of a Consent Order,"

  ("Stipulation and Consent") dated February 24, 2005, that is accepted by the Comptroller.            By

  this Stipulation and Consent, which is incorporated by reference, the New York Branch has

  consented to the issuance of this Consent Order ("Order") by the Comptroller.




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                                     COMPTROLLER'S FINDINGS

          (1)     The Branch conducts a substantial funds transfer business, including a significant

  number of transactions for participants that did not and do not have accounts at the Branch but

  whose transactions were originated by or received by other offices of Arab Bank and its affiliates

  or by other entities.

          (2)     The inadequacy of the Branch's controls over its funds transfer business is

  especially serious in light of the high risk characteristics of many of the transactions.       Banks

  conducting funds transfer business must have in place a level of systems and controls to monitor

  the transactions for compliance with laws that is commensurate with the risk level of the

  institution's business.

          (3)     The Branch, in material respects:

                  (a)       Failed adequately to implement a program to monitor funds transfers for

          suspicious activity (unsafe and unsound practices that violated 12 C.F.R. § 21.21);

                  (b)       Failed adequately to obtain sufficient information on funds transfers to

          determine whether it was obligated to file SARs (unsafe and unsound practices that

         violated 12 C.F.R. § 21.11); and

                  (c)       Failed adequately to audit or manage the implementation of a program to

          monitor money transfers for suspicious activity (unsafe and unsound practices that

         violated 12 C.F.R. § 21.21.)

          As a result of the examination and investigation - during which Arab Bank and Branch

  management cooperated and facilitated the Comptroller's review of transactions, accounts and

  existing Branch systems and controls - and pursuant to the authority vested in her by the Federal



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  Deposit Insurance Act, as amended, 12 U.S.C. § 1818, and the International Banking Act of

  1978, as amended, 12 U.S.C. § 3102(b), 3102(g) & 3108(a), the Comptroller hereby orders that:

                                          ARTICLE I
                                CAPITAL EQUIVALENCY DEPOSIT

           (1)     Effective immediately, the Branch shall increase its Capital Equivalency Deposit

  ("CED") to, and thereafter maintain its CED at, an amount at least equal to the greater of:

                   (a)    200% of its insured deposits determined under Schedule O of the Report

           of Assets and Liabilities of U.S. Branches and Agencies of Foreign Banks for the period

           ending December 31, 2004, or

                   (b)    20% of all liabilities required to be included in computing the CED under

           12 C.F.R. § 28.15.

           (2)     All assets in the CED must be free from any security interest, lien, charge, right of

  setoff, credit or preference in connection with any claim by the depository bank or any other

  party (other than the OCC).

          (3)      Within three (3) days, the Branch shall take such actions necessary to revise the

  account agreement for the CED with the depository bank, in a manner acceptable to the OCC, so

  that:

                   (a)    the OCC is a party to the agreement;

                   (b)    the CED may not be reduced in aggregate amount without the prior

                   written consent of the OCC; and

                   (c)    the agreement complies with 12 C.F.R. § 28.15(d) in all other respects.




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                                      ARTICLE II
                           ASSET MAINTENANCE REQUIREMENT

         (1)     Effective immediately, and at all times thereafter, the Branch shall:

                 (a)    maintain total assets of no lower quality than those at the Branch on the

         date of this Order, and meeting the criteria of 12 C.F.R. § 28.20, in an amount at least

         equal to $420 million; and

                 (b)    limit the amount of liabilities to nonrelated parties to an amount no greater

         than that reported on Schedule K of the Branch's Report of Asset and Liabilities of U.S.

         Branches and Agencies of Foreign Banks for the period ending December 31, 2004,

         which amount totaled $295 million at such date.

         (2)     In computing eligible total assets, all real estate holdings, as well as the

  exclusions required under 12 C.F.R. § 28.20(d) shall be excluded.

        (3)      Effective immediately and at all times thereafter, the Branch shall maintain Liquid

  Assets of no lower quality than those at the Branch on the date of this Order, and meeting the

  criteria of 12 C.F.R. § 28.20, in an amount at least equal to the amount of Liquid Assets reported

  by the Branch on its Report of Assets and Liabilities of U.S. Branches and Agencies of Foreign

  Banks for the period ending December 31, 2004.

         (4)     All assets used to meet the asset maintenance requirement must be free from any

  security interest, lien, charge, credit or preference in connection with any claim by any party,

  except for the security interests granted to the OCC, to the Federal Deposit Insurance

  Corporation ("FDIC") and to the Federal Reserve Bank of New York.

         (5)     Unless a more specific requirement is imposed by this Article, the Branch shall

  comply with the requirements of 12 C.F.R. § 28.20.




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          (6)     Commencing on the second day after the effective date of this Order and

  thereafter on each day on which the Branch conducts business, the Branch shall provide the

  Deputy Comptroller for Special Supervision ("Deputy Comptroller") with a daily written report

  of its assets, including the types, current value, and location of all assets. The GM, or his written

  designee in his absence or unavailability, shall attest to the validity of the report.

          (7)     For purposes of this Article, the term "Liquid Assets" -

                  (a)     means assets denominated in dollars and held in the United States;

                  (b)     includes:

                          (i)      cash

                          (ii)     balances due from non-related depository institutions,

                          (iii)    Federal Funds sold with non-related depository institutions,

                          (iv)     securities purchased under agreements to resell,

                          (v)      investment securities eligible for investment by national banks and

                  Federal branches under 12 C.F.R. Part 1, but

                  (c)     does not include encumbered or pledged assets by lien, preference or

          otherwise; nor any other asset pledged as security in any financial transaction with the

         Branch, the Bank, or any subsidiary or affiliate of the Bank, or any other party, except for

         the security interests granted to the OCC, to the Federal Deposit Insurance Corporation

          ("FDIC") and to the Federal Reserve Bank of New York.

                                          ARTICLE III
                                RESTRICTIONS ON FUNDS TRANSFERS

          (1)     Effective immediately, the Branch shall cease engaging in all funds transfer

  activities, unless the funds transfer is permitted under this Article. The Branch may complete

  any funds transfer already in process.


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         (2)     Until a lower level of activity is required under the Conversion Plan in

  Article VII, the Branch may conduct only the following funds transfers:

                 (a)     transfers to receive funds or assets necessary to maintain the Branch's

         compliance with Articles I and II of this Order;

                 (b)     transfers related to the sale, purchase, or transfer of Branch assets,

         provided that the Branch continues to hold the amount of assets required under Articles I

         and II of this Order;

                 (c)     transfers related to the repayment, renewal, or transfer of Branch

         liabilities, provided that the Branch continues to hold the amount of assets required under

         Articles I and II of this Order;

                 (d)     transfers effecting payment of Branch obligations to creditors, vendors,

         and other accounts payable, provided that the Branch continues to hold the amount of

         assets required under Articles I and II of this Order;

                 (e)     transfers effecting receipt of payments owed to the Branch;

                 (f)     transfers out of customer deposit accounts at the Branch existing on the

         date of this Order, and transfers necessary to accommodate customer transactions in

         customer transaction deposit accounts at the Branch existing on the date of this Order,

         provided that the Branch continues to hold the amount of assets required under Articles I

         and II of this Order;

                 (g)     transfers necessary to effect sending or receipt of payment on letters of

         credit and bankers' acceptances outstanding at the Branch on the date of this Order,

         provided the transaction is accompanied by documentation fully and              accurately

         describing the underlying trade transaction and in compliance with Article V, and



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        provided further that the Branch continues to hold the amount of assets required under

        Articles I and II of this Order;

                 (h)    transfers necessary to effect sending or receiving payments related to loan

        and loan commitments outstanding at the Branch on the date of this Order, provided that

        the Branch continues to hold the amount of assets required under Articles I and II of this

        Order;

                 (i)    transfers necessary to effect sending or receiving payments related to the

        foreign exchange, interest rate or other futures contracts, options, and swaps outstanding

        at the Branch on the date of this Order, provided that the Branch continues to hold the

        amount of assets required under Articles I and II of this Order;

                 (j)    any payment related to an interbank transaction in which Arab Bank is a

        counterparty acting as a principal, and not as an agent for a customer, entered into prior to

        the date of this Order with an unrelated bank, and the instructions for payment at maturity

        were established at the time the transaction was initiated. The Branch shall cause Arab

        Bank, within seven (7) days after the date of this Order, to identify any such transactions

        that have not yet matured and to instruct the bank counterparty to redirect the payment to

        a correspondent bank account;

                 (k)    payments related to settlement of sales of securities held by the Branch in

        custody for other Arab Bank branches or affiliates;

                 (l)    payments related to settlement of obligations of Arab Bank branches with

        Visa International, provided that no such payments shall occur on or after forty-five (45)

        days after the date of this Order;




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                     (m)    payments   under    the   United   States   Department   of   Agriculture's

          Commodity Credit         Corporation Export Credit Guarantee Program (GSM-102) and

          Intermediate Export Credit Guarantee Program (GSM-103), other U.S. Government

          export programs, and other U.S. Government programs under which the Branch is

          specified as an approved bank assignee or as the U.S. dollar payment bank;

                     (n)    other transfers necessary to carry out the Conversion Plan; and

                     (o)    other transfers with the prior written supervisory non-objection of the

          OCC.

          (3)        Notwithstanding the foregoing, a funds transfer shall be permitted under this

  Article only if:

                     (a)    the transfer does not result in the Branch's assets falling below the types

          and amounts required under Articles I and II;

                     (b)    the transfer is supported by written documentation or other information

          maintained at the Branch that fully satisfies the Branch's compliance with the Bank

          Secrecy Act and its implementing regulations and the USA PATRIOT Act and its

          implementing regulations and complies with the requirements of 12 C.F.R. § 28.18(a)

          and (c); and

                     (c)    the transfer is inputted at the Branch by Branch personnel under the direct

          supervision of Branch management.

          (4)        Commencing on the second day after the effective date of this Order and

  thereafter on each day on which the Branch conducts business, the Branch shall provide the

  Deputy Comptroller with a daily written report of its funds transfer activities. The GM, or his




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   written designee in his absence or unavailability, shall attest to the validity of the report.   The

   report shall include:

                  (a)      all wire transfers and other transfers by electronic means; and

                  (b)      the name of the customer, the type of transaction, and the amount of the

          transaction.

          (5)     The Branch shall immediately notify all customers and counter-parties that its

   funds transfer activities are restricted, including notifying other financial institutions via SWIFT.

          (6)     For purposes of this Order,

                  (a)      the term "funds transfer" includes the origination of, receipt of, or other

          participation in the transfer of funds, securities, or other assets by means of internal book

          entries at the Branch, or through automated clearinghouse transactions, Fedwire, other

          wire transfers, or any other electronic means; and

                  (b)      "already in process" means a payment related to an interbank transaction

          in which Arab Bank is a counterparty acting as a principal and not as an agent for a

          customer, the transaction was entered into with an unrelated bank prior to the date of this

          Order, and the instructions for payment at maturity were established at the time the

          transaction was initiated. The Branch shall cause Arab Bank, within seven (7) days after

          the date of this Order, to identify any such transactions that have not yet matured and to

          instruct the bank counterparty to redirect the payment to a correspondent bank account.

                                        ARTICLE IV
                              RESTRICTIONS ON DEPOSIT-TAKING

          (1)     Effective immediately, the Branch shall not open any new deposit account or

   renew or rollover any existing deposit account. The Branch may continue to accept additional




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   deposits to existing demand and savings accounts until the time arrives for the deposit to be paid-

   off or transferred under the Conversion Plan.

           (2)     Notwithstanding the foregoing, the Branch may open or renew the Affiliate

   Deposit required under Article VII.

           (3)     Commencing on the second day after the effective date of this Order and

   thereafter on each day on which the Branch conducts business, the Branch shall provide the

   Deputy Comptroller with a daily written report of its deposits, including any pay-offs, transfers,

   or other reductions and any increases in existing accounts. The GM, or his written designee in

   his absence or unavailability, shall attest to the validity of the report.

                                            ARTICLE V
                                        BOOKS AND RECORDS

           (1)     The Branch shall not destroy, alter, or remove from the Branch's premises any

   Bank or Branch documents, books and records until further written notice by the Deputy

   Comptroller.

           (2)     Effective immediately, the Branch shall keep all documents, books and records in

   English, as required by 12 C.F.R. § 28.18.

           (3)     The Branch shall maintain and, upon request, immediately make available to the

   OCC, the FDIC and the Federal Reserve:

                   (a)     all documents, books, records of the Branch maintained by or at the

           Branch; and

                   (b)     all documents, books, and records of non-U. S. offices of Arab Bank,

           including the Grand Cayman Island branch, that are maintained by or at the Branch.

           (4)     Upon request by the OCC, the FDIC or the Federal Reserve, the Branch shall

   make reasonable efforts to permit the OCC, the FDIC or the Federal Reserve to have access to:


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                  (a)    documents, books, and records of the Branch maintained by other offices

          of Arab Bank and its subsidiaries and its affiliates; and

                  (b)    documents, books, and records of non-US offices of Arab Bank including

          the Grand Cayman branch maintained by such other offices.

          (5)     For purposes of this Article, the terms "documents, books and records" shall have

   the broadest possible meaning and shall include, without limitation, paper and electronic records

   of all kinds, reports, notes, emails, calendars, phone logs, financial instruments, computer tapes

   and disks, and digital recording and storage media.

                                        ARTICLE VI
                                    COMPLIANCE P R O G R A M

          (1)     Within thirty (30) days, the Branch shall review, and where necessary develop,

   written policies and procedures to ensure compliance with all laws and regulations in all areas

   for any business conducted from the date of this Order until the conversion of the Branch,

   including but not limited to policies and procedures to ensure compliance with the Bank Secrecy

   Act, as amended (31 U.S.C. §§ 5311 - 5330), the regulations promulgated thereunder at 31

   C.F.R. Part 103, as amended, and 12 C.F.R. Part 21, Subparts B and C (collectively referred to as

   the Bank Secrecy Act). At a minimum, this written program shall establish:

                  (a)    systems of internal controls and independent testing and auditing to ensure

          ongoing compliance with the Bank Secrecy Act;

                  (b)    procedures for identifying and monitoring high risk accounts;

                  (c)    adequate controls and procedures to ensure that all suspicious and large

          currency transactions are identified and reported with comprehensive            procedures

          covering all points of cash entry and exit;




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                (d)     a methodology for ensuring that the Branch's wire transfers and book

         entry transfers are in compliance with this Order;

                (e)     a methodology for verifying that all information required by the Bank

         Secrecy Act and its implementing regulations, and the USA PATRIOT Act and its

         implementing regulations, are appropriately documented, filed, and maintained;

                (f)     procedures to ensure that records are maintained on monetary instrument

         transactions and funds transfers, as required by the Bank Secrecy Act;

                (g)     procedures to identify and report to appropriate management personnel

         suspicious activities for which a Suspicious Activity Report ("SAR") is required pursuant

         to 12 C.F.R. Part 21;

                (h)     a training program for all appropriate operational         and   supervisory

         personnel to ensure their awareness of and compliance with the requirements of the Bank

         Secrecy Act and the Office of Foreign Assets Control ("OFAC"), including the currency

         reporting and monetary instrument and funds transfer recordkeeping requirements, and

         the reporting requirements associated with SARS;

                (i)     guidelines for the provision of an officer who will be responsible for filing

         Currency Transaction Reports ("CTRs"), Reports of International Transportation of

         Currency or Monetary Instruments ("CMIRs"), and Reports of Foreign Bank and

         Financial Accounts ("FBARs");

                (j)     guidelines and procedures to identify and report both the shipment and

         receipt of currency or monetary instruments via common couriers; and

                (k)     guidelines, procedures, and systems for compliance with the rules and

         regulations of the OFAC.



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          (2)     Upon completion, a copy of the policies and procedures review and any new

   policies and procedures adopted as a result of the review shall be submitted to the Deputy

   Comptroller for a prior written determination of no supervisory objection. The Branch shall not

   implement any changes that will cause, result, or bring about a significant deviation or material

   change to the policies and procedures adopted pursuant to this Article, until the Branch has

   received the prior written determination of no supervisory objection from the Deputy

   Comptroller.

          (3)     Within forty-five (45) days, the Branch shall develop policies and procedures for

   conducting new trade settlement transactions ("Trade Settlement Policies and Procedures").

   The Trade Settlement Policies and Procedures shall include:

                  (a)       Standardized policies and procedures for accepting trade              settlement

          transactions;

                  (b)       Standardized policies and procedures for reviewing and completing each

          trade settlement transaction; and

                  (c)       Written     policies   and   procedures   establishing   guidelines   for    trade

          settlement transactions.

          (4)     The Branch's Trade Settlement Policies and Procedures shall, at a minimum,

   include the following:

                  (a)       All trade settlement transactions, excluding only local deliveries, shall be

          supported by:

                            (i)       Original bills of lading or original warehouse receipts signed by an

                  independent warehouse, or, with the prior written non-objection of the Deputy




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                   Comptroller, duplicate bills of lading or warehouse receipts bearing an original

                    signature or original stamp of the carrier or warehouse, as applicable; and

                           (ii)    Original commercial invoices.

                   (b)     Trade settlement transactions calling for local delivery shall be supported

          by:

                           (i)     Original warehouse receipts signed by an independent warehouse,

                   or original inspection certificates signed by an independent inspection service, or,

                   with the prior written non-objection of the Deputy Comptroller,                duplicate

                   warehouse receipts or inspection certificates bearing an original signature or

                   original stamp of the warehouse or inspection service, as applicable; and

                           (ii)    Original commercial invoices.

          (5)      The Trade Settlement Policies and Procedures shall also include the steps and

   actions necessary to ensure that the Branch has processes, personnel, and control systems to

   ensure implementation of, and adherence to, the Trade Settlement Policies and Procedures

   developed pursuant to this Article.

          (6)      Prior to implementation, a copy of the Trade Settlement Policies and Procedures

   shall be submitted to the Deputy Comptroller for a written determination of no supervisory

   objection.

          (7)      Upon receipt of a written determination of no supervisory objection, the Branch

   shall immediately implement and thereafter adhere to the Trade Settlement Policies and

   Procedures.     Prior to implementing any changes that will cause, result, or bring about a

   significant deviation or material change to the Trade Settlement Policies and Procedures adopted




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   pursuant to this Article, the Branch shall submit the changes to the Deputy Comptroller for prior

   written determination of no supervisory objection.

           (8)     Nothing in this Article shall be construed to prevent the Branch from complying

   with the Uniform Commercial Code of any State, the Uniform Customs and Practices for

   Documentary Credits published by the International Chamber of Commerce, or any other United

   States laws applicable to trade settlement transactions.

          (9)      The Branch shall ensure that its employees and facilities are not used in violation

   of the Bank Secrecy Act or to facilitate any violation of the Bank Secrecy Act.

          (10)     The Branch shall ensure that it has processes, personnel, and control systems to

   ensure implementation of and adherence to the Bank Secrecy Act Program developed pursuant to

   this Article and the other requirements of this Article.

                                      ARTICLE VII
                            BRANCH CONVERSION TO A N AGENCY

          (1)      Within thirty (30) days, the Branch shall develop and submit a plan acceptable to

   the OCC for the orderly winding-down and conversion of the Branch to a federal agency

   ("Agency") with no loss to the Branch's depositors and other third-party creditors and no cost or

   loss to the FDIC (the "Conversion Plan" or "Plan").        Subject to compliance with the winding

   down and conversion plan prescribed by this Article and Article VIII, the OCC consents to the

   conversion of the Branch into an agency.

          (2)      Upon completion of the Conversion Plan, the Branch shall submit the Plan to the

   Deputy Comptroller for a prior written determination of no supervisory objection. Upon receipt

   of written supervisory non-objection, the Branch shall, not later than 10 days from receipt of the

   written supervisory non-objection, implement the Conversion Plan (the "effective date of the

   Conversion Plan") and begin publication required pursuant to paragraph (7)(b) of this Article.


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   Prior to implementing any changes that will cause, result, or bring about a significant deviation

   or material change to the Conversion Plan adopted pursuant to this Article, the Branch shall

   submit the changes to the Deputy Comptroller for prior written determination of no supervisory

   objection.

          (3)     The Conversion Plan must incorporate the following fundamental requirements:

                  (a)    Throughout the conversion process, the Branch shall maintain the level

          and quality of assets required under Articles I and II. In order to maintain the required

          asset levels, the Branch, prior to making any payment on any liability or other obligation,

          shall obtain funds from a non-U. S. offices of Arab Bank to the extent needed for the

          Branch to maintain the required asset level;

                  (b)    Prior to conversion to a federal agency, the Branch shall pay all

          depositors, creditors, and holders of other third party liabilities, except those related to

          activities authorized pursuant to Article VIII, paragraph (3);

                  (c)    The conversion of the Branch shall take into account the requirements for

          the voluntary dissolution and liquidation of a national bank under 12 U.S.C. §§ 181, 182

          & 3102(j) and 12 C.F.R. § 5.48, as made applicable to Federal branches of foreign banks

          by 12 U.S.C. § 3102(b) and 12 C.F.R. § 28.22; and

                  (d)    During the conversion process, notwithstanding the general repayment of

          all other depositors, the Branch must maintain a deposit or deposits from an affiliate or

          affiliates in an aggregate amount of at least $500,000 (the "Affiliate Deposit").       The

          Affiliate Deposit shall not be repaid until immediately prior to the conversion of the

          Branch to a federal agency.




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          (4)     The Conversion Plan shall address the elimination of business operations and

   payment of third party liabilities, so that the operations of the Agency will be limited to those

   activities permitted under Article VIII.

          (5)     The Conversion Plan shall, at a minimum:

                  (a)     Specify how long the pre-conversion phase will last, provided, however,

          the pre-conversion phase shall be no longer than ninety (90) days from the effective date

          of the Conversion Plan;

                  (b)     List in detail all deposit liabilities of the Branch and detail how these will

          be paid or transferred.    Not later than sixty (60) days after the effective date of the

          Conversion Plan, the Branch shall pay or transfer all deposit obligations. Prior to paying

          or transferring deposit liabilities, the Branch shall obtain funds from a non-U. S. office of

          Arab Bank, if necessary, to maintain the Branch's asset level at or above the amount

          required by Articles I and II after payment of the deposit liabilities;

                  (c)     Specify all activities that will continue until the conversion of the Branch

          to a federal agency:

                          (i)     The Plan shall provide that any business will be conducted in

                  compliance with all laws and regulations and with safe and sound banking

                  practices, including but not limited to policies and procedures to ensure

                  compliance with the Bank Secrecy Act, as amended (31 U.S.C. §§ 5311 - 5330),

                  the regulations promulgated thereunder at 31 C.F.R. Part 103, as amended, and

                   12 C.F.R. Part 21, Subparts B and C;




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                         (ii)    The Plan shall detail specific timeframes for the cessation of

                  specific business lines, including by transfer to other banks or non-U.S. offices of

                 Arab Bank; and

                         (iii)   The Branch shall not enter into any other business not specifically

                 authorized by the Conversion Plan or without the prior written determination of

                  supervisory non-objection by the OCC;

                 (d)     Identify all customers, correspondent banks, counterparties and other

         affected parties and provide that notices be sent to them about the Branch's conversion

         and the means to be used to end the business relationship or transfer it to another party or

         a non-U.S. office of Arab Bank;

                 (e)     Identify all creditors and other potential claimants. Establish procedures

         to provide notice and to publish notice in order to identify all creditors and other potential

         claimants as set forth in subparagraph (7)(b) of this Article;

                 (f)     Describe any activities carried out at the Branch that relate to the

         administration of Arab Bank's Cayman Islands branch and the Branch's plans to transfer

         these activities to a non-U.S. office of Arab Bank; and

                 (g)     Identify any assets within the Branch's control that are subject to blockage

         under U.S. foreign asset control regulations and, if any, develop plans to transfer such

         assets to a U.S. bank in a manner acceptable to the OCC and the Office of Foreign Assets

         Control.

         (6)     The Conversion Plan shall, also at a minimum:




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                  (a)    Specify the date on which the Branch will begin publication of notice of

         conversion to a federal agency (the "Publication and Notice Date").          The Publication

         and Notice Date shall be the same date as the effective date of the Conversion Plan;

                  (b)    Specify the time frames, consistent with the minimum time requirements

         below, in which the Branch proposes to pay creditors and other claimants;

                  (c)    Specify the sources of funds for payment of creditors and other valid

         claimants;

                  (d)    Specify the methodology for receiving, processing, and resolving valid

         claims; and

                  (e)    Detail the manner in which the Branch proposes to address any unresolved

         claims, including contingent liabilities, remaining after all known claims are satisfied.

         (7)      The Conversion Plan shall provide that, immediately upon the Publication and

   Notice Date:

                  (a)    The Branch shall cease conducting any new banking business or holding

         itself out as available to conduct new banking business, except those activities authorized

         pursuant to Article VIII, paragraph (3), including accepting new deposits, undertaking

         other borrowings, making new loans or loan commitments, participating in any new letter

         of credit or bankers' acceptance activities, engaging in Federal Funds or securities

         repurchase transactions, or engaging in funds transfer activities, provided that the Branch

                         (i)     may perform on loan commitments, letters of credit, acceptances,

                  and futures, options, and swaps contracts outstanding on the effective date of the

                  Conversion Plan until the deadline for transferring such activities arrives;




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                         (ii)    may engage in short-term Federal Funds sold transactions with

                  insured U.S. depository institutions; and

                         (iii)   may conduct funds transfer activities necessary to wind down the

                  Branch's operations under the Conversion Plan.

                  (b)    The Branch shall provide all customers and known creditors and other

         potential claimants (including any contingent creditors and claimants) with written notice

         of the Branch's pending conversion, advise customers of methods and timeframes for

         transferring their business, and advise creditors and potential claimants of the time and

         place for filing claims. The Branch shall publish notice of its conversion in a newspaper

         of general circulation in New York for the first time, and shall thereafter continue

         publication daily for 30 days.      The Branch shall notify the FDIC that it has begun

         proceedings to convert the Branch to a federal agency, has paid or transferred all

         deposits, except for the Affiliate Deposit, and will inform the FDIC when the conversion

         process is complete;

                  (c)    The Branch shall close all correspondent and concentration accounts; and

                  (d)    The Branch shall submit to the OCC an interim report of the assets and

         liabilities of the Branch as of the close of business on the date before the effective date of

         the Conversion Plan. The G M shall attest to the validity of the report.

         (8)      The Conversion Plan shall provide that, within 7 days after the Publication and

   Notice Date:

                  (a)    The Branch shall inform its loan commitment customers, its letter of credit

         customers, and the counterparties on its futures, options, and swaps contracts, except

         those related to activities authorized pursuant to Article VIII, paragraph (3), of the need



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         to transfer the relationship to a non-U. S. office of Arab Bank, or to liquidate or settle

         within a commercially reasonable time but not to exceed the Conversion Date, and

         commence discussions to effect such transfer or other resolution;

                  (b)       The Branch shall inform each of its loan customers that the loans will be

         sold to a non-U. S. office of Arab Bank or to an unaffiliated entity within three weeks,

         unless the customers repays the loan;

                  (c)       The GM shall submit to the OCC a Report of Assets and Liabilities of the

         Branch as of the close of business on the Publication and Notice Date. The report shall

         be reviewed by a certified public accounting firm and will include a maturity schedule of

         all liabilities;

                  (d)       The GM shall submit a report on the status of the conversion proceedings

         to the OCC. The report will include the details of assets and liabilities, and all contingent

         liabilities, including any pending litigation.     The report will also include the G M ' s

         projection of the Branch's operating and administrative expenses until the conversion of

         the Branch. Thereafter, the G M shall submit such reports to the Deputy Comptroller on a

         weekly basis;

                  (e)       The Branch will pay when due all third-party liabilities on its books that

         have come due through this date, except those related to activities authorized pursuant to

         Article VIII, paragraph (3). Prior to paying liabilities, the Branch shall obtain funds from

         a non-U. S. office of Arab Bank, if necessary, to maintain the Branch's asset level at or

         above the amount required by Articles I and II upon such payment; and

                  (f)       The Branch will reinvest in Liquid Assets the proceeds of all assets that

         have matured or are sold through this date.



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           (9)     The Plan shall provide that, within 21 days after the Publication and Notice

   Date:

                   (a)        The Branch's short-term borrowings (such as repurchase agreements and

           other borrowings from other banks) shall be repaid. Prior to repaying such borrowings,

           the Branch shall obtain funds from a non-U.S. office of Arab Bank, if necessary, to

           maintain the Branch's asset level at or above the amount required by Articles I and II

           upon such repayment;

                   (b)        The Branch will pay when due all other third-party liabilities on its books

           that have come due through this date, except those related to activities authorized

           pursuant to Article VIII, paragraph (3). Prior to paying such liabilities, the Branch shall

           obtain funds from a non-U.S. office of Arab Bank, if necessary, to maintain the Branch's

           asset level at or above the amount required by Articles I and II upon payment of such

           liabilities; and

                   (c)        The Branch will reinvest in Liquid Assets the proceeds of all assets that

           have matured or are sold through this date.

           (10)    The Plan shall provide that, within 30 days after the Publication and Notice

   Date:

                   (a)        The Branch will either liquidate or (with the consent of the counterparty)

           transfer to a non-U.S. office of Arab Bank all remaining foreign exchange, interest rate,

           and other futures, options, or swap transaction;

                   (b)        The Branch will settle or (with the consent of the beneficiary) transfer to a

           non-U.S. office of Arab Bank or to an unaffiliated U.S. bank all letters of credit and




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         bankers' acceptances, except those related to activities authorized pursuant to Article

         VIII, paragraph (3);

                 (c)     The Branch will (with the consent of the counterparty) transfer to a non-

         U.S. office of Arab Bank all loan commitments;

                 (d)     The Branch will transfer or sell any remaining loans and other assets

         (other than Liquid Assets), except those related to activities authorized pursuant to

         Article VIII, paragraph (3), to a non-U. S. office of Arab Bank, to an affiliate, or to an

         unaffiliated entity;

                 (e)     The Branch will pay when due all third-party liabilities on its books that

         have come due through this date, except those related to activities authorized pursuant to

         Article VIII, paragraph (3). Prior to paying such liabilities, the Branch shall obtain funds

         from a non-U.S. office of Arab Bank, if necessary, to maintain the Branch's asset level or

         above the amount required by Articles I and II upon such payments;

                 (f)     The Branch will reinvest in Liquid Assets the proceeds of all assets that

         have matured or are sold through this date;

                 (g)     The Branch shall pay any remaining accounts payable, unless the party

         involved consents to the transfer of the Branch's obligation to a non-U.S. office of Arab

         Bank. Prior to paying such accounts payable, the Branch shall obtain funds from a non-

         U.S. office of Arab Bank, if necessary, to maintain the Branch's asset level at or above

         the amount required by Articles I and II upon such payments;

                 (h)     The Branch's administration of Arab Bank's Cayman Islands branch shall

         end, and the physical operations of Arab Bank's Cayman Islands branch will be moved to

         a location outside the United States; and



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                  (i)      As of this date, the Branch will have completed the winding down of its

          banking business permitted under its branch license, and so the Branch will cease

          conducting any business other than that permitted for the Agency pursuant to Article VIII

          and those necessary to complete the cessation of the Branch's operations.

          (11)    The Plan shall provide that no later than 75 days after the Publication and

   Notice Date:

                  (a)      The Branch shall review any claims filed and determine whether to accept

          them or disallow them;

                  (b)      The GM will submit a preliminary notice of conversion of the Branch to

          the OCC.      The preliminary notice will include a summary of deposits, other liabilities,

          and other claims that have been paid; claims that have been filed that the Branch plans to

          pay; claims that have been filed that remain unresolved; and other contingent liabilities

          known to the Branch. The review shall estimate the amount needed to cover claims and

          contingent liabilities not yet paid and the likelihood of the Branch being liable.     The

          summary shall be reviewed by a certified public accounting firm; and

                  (c)      The GM shall submit a plan that provides the steps the Branch will take to

          ensure that all remaining agreed claims will be paid prior to 90 days after the Publication

          and Notice Date. The plan shall be submitted to the OCC for a written determination of

          supervisory non-objection.

                                     ARTICLE VIII
                          FINAL CONVERSION TO FEDERAL A G E N C Y

          (1)     The Conversion Plan shall provide that no later than 90 days after the

   Publication and Notice Date the Branch shall proceed with the following final conversion

   requirements ("Final Conversion Requirements").


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          (2)     The Final Conversion Requirements shall include:

                   (a)   The Branch shall pay all remaining agreed claims. Prior to paying such

          claims, the Branch shall obtain funds from a non-U.S. office of Arab Bank if necessary to

          maintain the Branch's asset level at or above the amount required by Articles I and II

          upon such payments;

                  (b)    The Branch shall repay the Affiliate Deposit;

                  (c)    The Branch will notify the FDIC that all depositors have been paid and the

          conversion of the Branch is complete;

                  (d)    The Branch will withdraw from the N e w York Clearinghouse CHIPS

          system and any other such systems and will close its accounts with the Federal Reserve

          Bank of N e w York;

                  (e)     The GM shall submit a final report concerning deposits, other liabilities,

          and other claims that have been paid and remaining contingent creditors. The report shall

          be reviewed by a certified public accounting firm; and

                  (f)    The GM shall submit a final notice of conversion of the Branch to a

          federal agency to the OCC and shall seek the prior written supervisory non-objection to

          convert the Branch to a federal agency.         Upon receipt of written supervisory non-

          objection, the Branch shall convert to a federal agency ("Conversion Date") and provide

          the Federal Reserve with written notice pursuant to 12 C.F.R. § 211.24(a)(7).

          (3)     After conversion, the activities of the Agency shall be limited to those activities

   specifically authorized in writing by the Deputy Comptroller and as authorized pursuant to

   12 C.F.R. § 28.11(h). The Agency shall maintain a CED in the amount of at least $5 million.




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           (4)     The Agency will continue to maintain the Branch's books and records in the

   United States so long as the Agency is in existence and for a period of at least ten years after it

   closes, and will provide for OCC access to such books and records.

           (5)     After conversion, the Agency shall be responsible for all of the Branch's

   remaining obligations as of the Conversion Date, including contingent liabilities, for which the

   existence or amount of the Branch's liability had not been established prior to the Conversion

   Date.

           (6)     After conversion, the Agency shall maintain assets in an amount at least equal to

   the total amount of assets at the Branch at the Conversion Date. In lieu of maintaining assets at

   the resulting Federal agency as required in Articles I and II, the Agency and Arab Bank may

   obtain a letter of credit or other guarantee ("letter of credit") that will guarantee the payment by

   Arab Bank to the Agency of amounts needed to pay claims on the pre-existing Branch and on the

   resulting Federal agency that later become established. Provided:

                   (a)    The letter of credit shall be in an amount equal to the total amount of

           assets at the Branch at the Conversion Date, less the amount of assets that must be

           maintained at the Agency as determined by the OCC;

                   (b)    The terms of the letter of credit shall provide that it may be drawn on by

           the Agency if the Agency becomes obligated to pay a claim on the Branch or the Agency.

                   (c)    The letter of credit shall be issued by a bank acceptable to the OCC; and

                   (d)    The letter of credit shall be for a period of time sufficient to cover all

           contingent liabilities of the Branch and the Agency, or automatically renewable; must be

           irrevocable; and must be on other terms acceptable to the OCC, such acceptance shall not

           be unreasonably withheld.



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              (7)     Prior to making a claim pursuant to the terms of the letter of credit, the Agency

   shall provide the OCC with at least three (3) days prior notice.

              (8)     Arab Bank shall assume all of the remaining obligations of the Branch as of the

   Conversion Date, including contingent liabilities, for which the existence or amount of the

   Branch's liability had not been established prior to the Conversion Date, and thereafter Arab

   Bank shall pay off, compromise, settle or resolve any such contingent liabilities or claims at no

   loss to the Branch or the FDIC.         The form and manner of Arab Bank's assumption of the

   Branch's contingent liabilities must satisfy all legal requirements under the National Bank Act

   and the International Bank Act, and must be acceptable to the OCC.

              (9)     The obligations of Articles I and II shall terminate and the Branch may pay or

   transfer all assets to Arab Bank or its affiliates or subsidiaries, upon written determination of

   supervisory non-objection by the OCC. In seeking such supervisory non-objection, the Agency

   shall demonstrate to the O C C ' s satisfaction compliance with subparagraph (6) and (8) of this

   Article.

                                                ARTICLE IX

                      ADMINISTRATIVE APPEALS AND EXTENSIONS OF TIME

              (1)     If the Branch determines that an exception to any provision of this Order is in its

   best interests, or requires an extension of any timeframe within this Order, the Branch shall

   submit a written request to the Deputy Comptroller requesting relief.

              (2)     Any written requests submitted pursuant to this Article shall include a statement

   setting forth in detail the special circumstances that prevent the Branch from complying with any

   provision, that require the Deputy Comptroller to exempt the Branch from any provision, or that

   require an extension of any timeframe within this Order. All such requests shall be accompanied

   by relevant supporting documentation.

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           (3)        The Deputy Comptroller's decision in granting the request is final and not subject

   to further review.

                                             ARTICLE X
                                         GENERAL PROVISIONS

           (1)     Although the Branch, through the GM, is required to submit certain proposed

   actions and programs for the review or approval of the Deputy Comptroller, the GM and the

   Branch have the ultimate responsibility for proper and sound management of the Branch as well

   as compliance with all of the provisions contained in this Order.

           (2)     It is expressly and clearly understood that if, at any time, the Comptroller deems it

   appropriate in fulfilling the responsibilities placed upon him/her by the several laws of the

   United States of America to undertake any action affecting the Branch, nothing in this Order

   shall in any way inhibit, estop, bar or otherwise prevent the Comptroller from so doing.

           (3)     It is expressly and clearly understood that nothing herein shall preclude any

   proceedings brought by the Comptroller to enforce the terms of this Order, and that nothing

   herein constitutes, nor shall the Branch contend that it constitutes, a waiver of any right, power,

   or authority of any other representatives of the United States or agencies thereof, including the

   Department of Justice, to bring other actions deemed appropriate.

           (4)     All reports, information, and documentation required under this Order and any

   other correspondence related to this Order shall be sent by overnight mail, e-mail, hand delivery,

   or facsimile to:

                   John W. Quill
                   Deputy Comptroller for Special Supervision
                   Office of the Comptroller of the Currency
                   250 E Street, S.W.
                   Washington, D. C. 20219
                   Facsimile Number: (202) 874-5214
                   E-mail Address: John.Quill@occ.treas.gov


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          (5)     Any time limitations imposed by this Order shall begin to run from the effective

   date of this Order.

          (6)     The provisions of this Order are effective upon issuance of this Order by the

   Comptroller, through her authorized representative whose hand appears below, and shall remain

   effective and enforceable, except to the extent that, and until such time as, any provisions of this

   Order shall have been amended, suspended, waived, or terminated in writing by the Comptroller.

          (7)     It is expressly and clearly understood that upon conversion to a federal agency,

   the Agency shall succeed to all obligations of the Branch and the provisions of this Order shall

   be enforceable against the Agency to the same extent as to the Branch.

          (8)     This Order is intended to be, and shall be construed to be, a final order issued

   pursuant to 12 U.S.C. § 1818(b), and expressly does not form, and may not be construed to form,

   a contract binding on the Comptroller or the United States.

          (9)     The terms of this Order, including this paragraph, are not subject to amendment or

   modification by any extraneous expression, prior agreements or prior arrangements between the

   parties, whether oral or written.

          (10)    Upon the effective date of this Order, the Consent Order dated February 8, 2005

   shall terminate.



   IT IS SO ORDERED, this 24th day of February 2005.


   /s/Timothy W. Long                                                   2/24/05
   Timothy W. Long                                                     Date
   Senior Deputy Comptroller
   Midsize/Community Bank Supervision
   Office of the Comptroller of the Currency



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                              UNITED STATES OF AMERICA
                            DEPARTMENT OF THE TREASURY
                    OFFICE OF THE COMPTROLLER OF THE CURRENCY


   In the Matter of:

   The Federal Branch of Arab Bank PLC                           AA-EC-05-12
   New York, New York




                       STIPULATION AND CONSENT TO THE ISSUANCE
                                 OF A CONSENT ORDER

          The Acting Comptroller of the Currency of the United States of America ("Comptroller")

   has agreed to a consent order with the New York branch of Arab Bank, PLC, (the "New York

   Branch" or the "Branch"), a Federal branch of Arab Bank, PLC, Amman, Jordan, ("Bank")

   pursuant to 12 U.S.C. § 3101 et seq., and is considering whether to initiate proceedings pursuant

   to 12 U.S.C. § 1818(b).

          The Branch, in the interest of compliance and cooperation, consents to the issuance of a

   Consent Order, dated February 24, 2005 ("Order").

          In consideration of the above premises, the Comptroller, through her authorized

   representative, and the New York Branch, by and through the Executive Vice President and

   Regional Manager, duly authorized by the Bank, hereby stipulate and agree to the following:

                                               Article I

                                              Jurisdiction

          (1)     The Branch is a Federal branch licensed and examined by the Comptroller

   pursuant to the International Banking Act of 1978, as amended, 12 U.S.C. § 3101 et seq.




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          (2)     The Comptroller is "the appropriate Federal banking agency" regarding the

   Branch pursuant to 12 U.S.C. §§ 1813(q), 1818(b) and 3108(b).


                                                 Article II

                                                Agreement

          (1)     The Branch, without admitting or denying any wrongdoing, hereby consents and

   agrees to the issuance of the Order by the Comptroller.

          (2)     The Branch further agrees that said Order shall be deemed an "order issued with

   the consent of the depository institution" as defined in 12 U.S.C. § 1818(h)(2), and consents and

   agrees that said Order shall become effective upon its issuance and shall be fully enforceable by

   the Comptroller under the provisions of 12 U.S.C. §§ 1818(i) and 3101 et seq.

          (3)     Notwithstanding the absence of mutuality of obligation, or of consideration, or of

   a contract, the Comptroller may enforce any of the commitments or obligations herein

   undertaken by the Branch under its supervisory powers, including 12 U.S.C. § 1818(i), not as a

   matter of contract law. The Branch expressly acknowledges that neither the Branch nor the

   Comptroller has any intention to enter into a contract.

          (4)     The Branch also expressly acknowledges that no officer or employee of the Office

   of the Comptroller of the Currency has statutory or other authority to bind the United States, the

   U.S. Treasury Department, the Comptroller, or any other federal bank regulatory agency or

   entity, or any officer or employee of any of those entities to a contract affecting the

   Comptroller's exercise of its supervisory responsibilities.

                                                Article III

                                                 Waivers

          (1)     The Branch, by signing this Stipulation and Consent, hereby waives:




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                   (a)    the issuance of a Notice of Charges pursuant to 12 U.S.C. § 1818(b);

                   (b)    any and all procedural rights available in connection with the issuance of

                          the Order;

                   (c)    all rights to seek any type of administrative or judicial review of the

                          Order; and

                   (d)    any and all rights to challenge or contest the validity of the Order.


                                                 Article IV

                                               Other Action

           (1)     The Branch agrees that the provisions of this Stipulation and Consent shall not

   inhibit, estop, bar, or otherwise prevent the Comptroller from taking any other action affecting

   the Branch if, at any time, he/she deems it appropriate to do so to fulfill the responsibilities

   placed upon him/her by the several laws of the United States of America.



          IN T E S T I M O N Y W H E R E O F , the undersigned, authorized by the Comptroller as her

   representative, has hereunto set his hand on behalf of the Comptroller.


   /s/Timothy  W. Long                                                                      2/24/05
   Timothy W. Long                                                                           Date
   Senior Deputy Comptroller
   Midsize/Community Bank Supervision
   Office of the Comptroller of the Currency




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             IN T E S T I M O N Y W H E R E O F , the undersigned, the Executive Vice President and

   Regional Manager, duly authorized by the Bank, has hereunto set his hand on behalf of the

   Branch.




                 /s/_                                                                    2/24/05
   Nofal S. Barbar                                                                       Date
   Executive Vice President and Regional Manager
   Arab Bank, PLC
   On behalf of Arab Bank, PLC, N e w York Branch




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